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8                               UNITED STATES DISTRICT COURT
9                          CENTRAL DISTRICT OF CALIFORNIA
10

11     JOHN HO, an individual                    Case No.: 2:23-cv-04709
12                 Plaintiff,                    COMPLAINT FOR
13           vs.
                                                    (1) VIOLATION OF THE UNRUH
14     PACIBEL, LLC, a limited liability                CIVIL RIGHTS ACT
       company
15                                                      (CALIFORNIA CIVIL CODE
                   Defendants.                          §§ 51, 52);
16
                                                    (2) VIOLATIONS OF THE
17                                                      AMERICANS WITH
18                                                      DISABILITIES ACT OF 1990

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                                         COMPLAINT
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1                                                  I.
                                                SUMMARY
2

3              1.    This is a civil rights action by plaintiff John Ho (“Plaintiff”) for
4      discrimination at the building, structure, facility, complex, property, land,
5      development, and/or surrounding shopping center bearing the legal address of 6021
6      Pacific Blvd, Huntington Park, CA 90255-2953, Los Angeles County, and
7      encompassing the entire exterior parking lot identified as APN 6320-014-046 where
8      the business the “Yogurtland” operates (the “Property”). Plaintiff frequents the area
9      for dining, shopping and entertainment as the area is near his residence. In this
10     particular instance, Plaintiff desired to patronize the “Yogurtland” located on the
11     property.
12             2.    Plaintiff seeks damages, injunctive and declaratory relief, attorney’s fees
13     and costs pursuant to the Americans with Disabilities Act of 1990 (42 U.S.C. §§
14     12101, et seq.) and related California statutes 1 against the owner of the property
15     PACIBEL, LLC, a limited liability company (“Defendant”).
16                                                     II.
17                                           JURISDICTION
18             3.    This Court has original jurisdiction under 28 U.S.C. §§ 1331 and 1343
19     for ADA claims.
20             4.    Supplemental jurisdiction for claims brought under parallel California
21     law – arising from the same nucleus of operative facts – is predicated on 28 U.S.C §
22     1367.
23             5.    Plaintiff’s claims are authorized by 28 U.S.C. §§ 2201 and 2202.
24                                                 III.
25                                                VENUE
26             6.    All actions complained of herein take place within the jurisdiction of the
27
       1
28      Plaintiff is not currently asserting a cause of action under California Civil Code § 55, but may
       amend his complaint at a later time upon discovery of facts which give rise to such a claim.
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       United States District Court, Central District of California, and venue is invoked
2
       pursuant to 28 U.S.C. § 1391(b), (c)
3
                                                  IV.
4
                                                PARTIES
5
             7.       On information and belief, Plaintiff alleges that Defendant is or was at
6
       the time of the incident, the owner, operator, lessor and/or lessee of the Property, and
7
       consist of a person (or persons), firm, company, and/or corporation.
8
             8.       Plaintiff is a T-12 paraplegic, and as a result is unable to walk or stand,
9
       and thus requires a use of a wheelchair at all times when traveling in public. Plaintiff
10
       is “physically disabled” as defined by all applicable California and United States laws,
11
       and a member of the public whose rights are protected by these laws. Plaintiff is a
12
       resident of Los Angeles County, California. Plaintiff is considered a high frequency
13
       litigant as that term is defined in California Code of Civil Procedure § 425.55(b). In
14
       the twelve months preceding the filing of this complaint, Plaintiff filed fifteen (15)
15
       other construction accessibility related claims (not including this one).
16
                                                  V.
17
                                                 FACTS
18
             9.       On February 27, 2022, Plaintiff patronized the Property. The Property is
19
       a sales or retail establishment, open to the public, which is intended for nonresidential
20
       use and whose operation affects commerce.
21
             10.      Plaintiff visited the Property and encountered barriers (both physical and
22
       intangible) that interfered with – if not outright denied – Plaintiff’s ability to use and
23
       enjoy the goods, services, privileges and accommodations offered at the facility. To
24
       the extent known by Plaintiff, the barriers at the Property included, but are not limited
25
       to the following:
26

27                 a. Parking spaces designated as accessible and accompanying access aisles
28                    have slopes and/or cross slopes that exceed 2.0%. Without a level
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1                     parking space, it is difficult for Plaintiff to unload/transfer from a vehicle
2                     as his wheelchair rolls.
3                  b. To access the sidewalks and stores, Plaintiff must traverse up a built-up
4                     curb ramp that is too steep. To the extent that the curb ramp is intended
5                     to be a ramp, it does not have the necessary railings for Plaintiff to safely
6                     maneuver up and down.
7                  c. Accessible parking spaces are not properly marked and maintained. For
8                     example, pavement marking is severely faded making it difficult for
9                     Plaintiff to determine which spaces will accommodate Plaintiff’s
10                    disability. Additionally, there is loose gravel and broken pavement
11                    within accessible parking spaces and access aisles. These conditions
12                    make it difficult for Plaintiff as small loose pieces of gravel can get
13                    caught in Plaintiff’s wheelchair causing him to lose balance and tip over.
14
             11.      These barriers to access are listed without prejudice to Plaintiff citing
15
       additional barriers to access after inspection by Plaintiff’s access consultant, per the
16
       9th Circuits standing standards under Doran v. 7-Eleven, Inc. 524 F.3d 1034 (9th Cir.
17
       2008). These barriers prevented Plaintiff from enjoying full and equal access to the
18
       Property.
19
             12.      Plaintiff thus experienced difficulty and discomfort as a result of the
20
       accessible barriers he encountered. Although he would like to return to the Property
21
       to patronize the convenience store at the Property, he continues to be deterred from
22
       visiting the Property because of the future threats of injury created by these barriers.
23
       Plaintiff often frequents the area as he enjoys the shops and dining offered in the area.
24
       Within 6 months of the correction of any barriers, Plaintiff would return to the
25
       Property to not only patronize the stores on the Property, but to also ensure that
26
       barriers have been properly removed and/or corrected.
27
             13.      On information and belief, Plaintiff alleges that Defendant knew that
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       these elements and areas of the Property were inaccessible, violate state and federal
2
       law, and interfere with (or deny) access to the physically disabled. Moreover,
3
       Defendant has the financial resources to remove these barriers from the Property
4
       (without much difficult or expense), and make the Property accessible to the
5
       physically disabled. To date, however, the Defendant refuses to remove those
6
       barriers.
7
                14.   On information and belief, Plaintiff alleges that at all relevant times,
8
       Defendant has possessed and enjoyed sufficient control and authority to modify the
9
       Property to remove impediments to wheelchair access and to comply with the
10
       Americans with Disabilities Act Accessibility Guidelines and Title 24 regulations.
11
       Defendant has not removed such impediments and have not modified the Property to
12
       conform to accessibility standards.
13
          VI.      FIRST CAUSE OF ACTION: VIOLATION OF CALIFORNIA LAW
14
             INCLUDING: THE UNRUH ACT, CIVIL CODE §§ 51, 52 AND THE
15
        AMERICANS WITH DISABILITIES ACT AS INCORPORATED BY CIVIL
16
                                          CODE SECTION 51(f)
17
                15.   Plaintiff incorporates the allegations contained in paragraphs 1 through
18
       14 for this claim and incorporates them herein.
19
                16.   At all times relevant to this complaint, California Civil Code § 51 has
20
       provided that physically disabled persons are free and equal citizens of the state,
21
       regardless of disability or medical condition:
22
                All persons within the jurisdiction of this state are free and equal, and
23
                no matter what their sex, race, color, religion, ancestry, national
24
                origin, disability, or medical condition are entitled to the full and
25
                equal accommodations, advantages, facilities, privileges, or services
26
                in all business establishments of every kind whatsoever. Cal. Civ.
27
                Code § 51(b).
28
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              17.    California Civil Code § 52 provides that the discrimination against
2
       Plaintiff on the basis of his disabilities constitutes a violation of the anti-
3
       discrimination provisions of §§ 51 and 52.
4
              18.    Defendant’s discrimination constitutes a separate and distinct violation of
5
       California Civil Code § 52 which provides that:
6
              Whoever denies, aids or incites a denial, or makes any discrimination
7
              or distinction contrary to section 51, 51.5 or 51.6 is liable for each and
8
              every offense for the actual damages, and any amount that may be
9
              determined by a jury, or a court sitting without a jury, up to a
10
              maximum of three times the amount of actual damage but in no case
11
              less than four thousand dollars ($4,000) and any attorney’s fees that
12
              may be determined by the court in addition thereto, suffered by any
13
              person denied the rights provided in Section 51, 51.5 or 51.6.
14
              19.    Plaintiff continues to be deterred from visiting the Subject Property based
15
       upon the existence of the accessible barriers. In addition to the instance of
16
       discrimination occurring in February 2022, Plaintiff is entitled to $4,000.00 in
17
       statutory damages for each additional occurrence of discrimination under California
18
       Civil Code § 52.
19
              20.    Any violation of the Americans with Disabilities Act of 1990 (as pled in
20
       the Third Cause of Action) constitutes a violation of California Civil Code § 51(f)
21
       thus independently justifying an award of damages and injunctive relief pursuant to
22
       California law. Per § 51(f), “[a] violation of the right of any individual under the
23
       Americans with Disabilities Act of 1990 … shall also constitute a violation of this
24
       section.”
25
              21.    The actions and omissions of Defendant as herein alleged constitute a
26
       denial of access to and use of the described public facilities by physically disabled
27
       persons within the meaning of California Civil Code §§ 51 and 52. As a proximate
28
                                                   5
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1
       result of Defendant’s action and omissions Defendant has discriminated against
2
       Plaintiff in a violation of Civil Code §§ 51 and 51.
3
                                                 VII.
4
        SECOND CAUSE OF ACTION: VIOLATION OF THE AMERICANS WITH
5
                     DISABILITIES ACT OF 1990 (42 USC §§ 12101 et seq.)
6
             22.    Plaintiff incorporates the allegations contained in paragraphs 1 through
7
       21 for this claim and incorporates them herein.
8
             23.    As part of the Americans with Disabilities Act of 1990 (“ADA”),
9
       Congress passed “Title III – Public Accommodations and Services Operated by
10
       Private Entities.” 42 U.S.C. § 12181 et seq. The Property is one of the “private
11
       entities” which are considered “public accommodations” for purposes of this title,
12
       which includes any “restaurant, bar, or other sales or rental establishment serving food
13
       or drink.” § 301(7)(B).
14
             24.    The ADA states that “[n]o individual shall be discriminated against on
15
       the basis of disability in the full and equal enjoyment of the goods, services, facilities,
16
       privileges, advantages, or accommodations of any place of public accommodation by
17
       any person who owns, leases, or leases to, or operates a place of public
18
       accommodation.” 42 U.S.C. § 12182.
19
             25.    The acts and omissions of Defendant set forth herein were in violation of
20
       Plaintiff's rights under the ADA and the regulations promulgated thereunder, 28 CFR
21
       Part 36 et seq.
22
             26.    On information and belief, Plaintiff alleges that the Property was
23
       constructed or altered after January 26, 1993 thus triggering requirements for removal
24
       of barriers to access for disabled persons under § 303 of the ADA. Further on
25
       information and belief, Plaintiff alleges that removal of each of the barriers
26
       complained of by Plaintiff as hereinabove alleged, were at all times herein mentioned
27
       "readily achievable" under the standards §§ 30 l and 302 of the ADA. As noted
28
                                                  6
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1
       hereinabove, removal of each and every one of the architectural barriers complained
2
       of herein were also required under California law. In the event that removal of any
3
       barrier is found to be "not readily achievable," Defendant still violated the ADA, per§
4
       302(b )(2)(A)(v) by failing to provide all goods, services, privileges, advantages and
5
       accommodations through alternative methods that were readily achievable.
6
             27.    On information and belief, as of the date of Plaintiff’s encounter at the
7
       Property and as of the filing of this Complaint, the Defendant denies and continues to
8
       deny full and equal access to Plaintiff and to other disabled persons, including
9
       wheelchair users, in other respects, which violate plaintiff's rights to full and equal
10
       access and which discriminate against Plaintiff on the basis of his disability, thus
11
       wrongfully denying to plaintiff the full and equal enjoyment of the goods, services,
12
       facilities, privileges, advantages and accommodations, in violation of§§ 302 and 303
13
       of the ADA. 42 USC§§ 12182 and 12183.
14
             28.    On information and belief, Defendant has continued to violate the law
15
       and deny the rights of Plaintiff and other disabled persons to access this public
16
       accommodation since on or before Plaintiff's encounters, as previously noted.
17
       Pursuant to the ADA, § 308, 42 USC 12188 et seq., Plaintiff is entitled to the
18
       remedies and procedures set forth in§ 204(a) of the Civil Rights Act of 1964, 42 USC
19
       2000(a)-3(a), as Plaintiff is being subjected to discrimination on the basis of disability
20
       in violation of the ADA or has reasonable grounds for believing that he is about to be
21
       subjected to discrimination. Pursuant to § 308(a)(2), "In cases of violations of§ 302(b
22
       )(2)(A)(iv) and § 303(a) ... injunctive relief shall include an order to alter facilities to
23
       make such facilities readily accessible to and usable by individuals with disabilities to
24
       the extent required by this title."
25
             29.    Plaintiff seeks relief pursuant to remedies set forth in§ 204(a) of the Civil
26
       Rights Act of 1964, 42 USC 2000(a)-3(a), and pursuant to Federal Regulations
27
       adopted to implement the Americans with Disabilities Act of 1990. Plaintiff is a
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1
       qualified disabled person for purposes of § 308(a) of the ADA who is being subjected
2
       to discrimination on the basis of disability in violation of Title III and who has
3
       reasonable grounds for believing he will be subjected to such discrimination each time
4
       that he may attempt to use the property and premises.
5
                                                 PRAYER
6
                WHEREFORE, Plaintiff prays that this court award damages and provide relief
7
       as follows:
8
             1. Issue a preliminary and permanent injunction directing Defendant as current
9
       owner, operator, lessor, and/or lessee of the property and premises to modify the
10
       above described property and premises and related facilities so that each provides full
11
       and equal access to all persons, including but not limited to persons with physical
12
       disabilities who use wheelchairs, and issue a preliminary and permanent injunction
13
       directing Defendant to provide and maintain facilities usable by plaintiff and similarly
14
       situated persons with disabilities, and which provide full and equal access, as required
15
       by law, including appropriate changes in policy;
16
             2. Retain jurisdiction over the Defendant until such time as the Court is satisfied
17
       that Defendant unlawful policies, practices, acts and omissions, and maintenance of
18
       inaccessible public facilities as complained of herein no longer occur, and cannot
19
       recur;
20
             3. Award to Plaintiff all appropriate damages, including but not limited to
21
       statutory damages, general damages and treble damages in amounts within the
22
       jurisdiction of this Court, all according to proof;
23
             4. Award to Plaintiff all reasonable statutory attorney fees, litigation expenses, and
24
       costs of this proceeding as provided by law;
25
             5. Award to Plaintiff prejudgment interest pursuant to California Civil 17 Code§
26
       329;
27

28     ///
                                                    8
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1
      6. Grant such other and further relief as this Court may deem just and proper.
2

3                                     ASCENSION LAW GROUP, PC

4      DATE: June 15, 2023

5                                              /s/Pamela Tsao

6                                     Pamela Tsao, attorney for Plaintiff

7                                                 JOHN HO

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